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                                                           U.S. DISTRICT COURT – N.D. OF N.Y.

                                                                    FILED
                                                               Jan 16 - 2021

                                                              9        51
                                                           AT___O’CLOCK___MINUTES
                                                                 John M. Domurad, Clerk




                                           NDNY Case No.: 1:21-MJ-032-DJS
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AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                        District
                                                 __________      of Columbia
                                                            District  of __________

                  United States of America
                              v.                                  )
                    BRANDON FELLOWS                               )        Case No.
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      BRANDON FELLOWS                                                                                   ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment       u Information        u Superseding Information             ✔ Complaint
                                                                                                                    u
u Probation Violation Petition            u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  18 U.S.C. § 1752(a) (Restricted Building or Grounds)
  40 U.S.C. § 5104(e)(2) (Violent Entry or Disorderly Conduct)




Date:         01/15/2021
                                                                                          Issuing officer’s signature

City and state:       Washington, DC                                           Zia M. Faruqui, U.S. Magistrate Judge
                                                                                           Printed name and title


                                                                Return

           This warrant was received on (date)                        , and the person was arrested on (date)
at (city and state)                                         .

Date:
                                                                                        Arresting officer’s signature



                                                                                           Printed name and title
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AO 442 (Rev. 11/11) Arrest Warrant (Page 2)




                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                          (Not for Public Disclosure)

Name of defendant/offender:             Brandon Fellows

Known aliases:           N/A
Last known residence:                 1117 Van Curler Ave. Schenectady, NY 12308

Prior addresses to which defendant/offender may still have ties:          N/A


Last known employment:                    N/A
Last known telephone numbers:                   518-605-7220

Place of birth:       N/A
Date of birth:            4/11/1994

Social Security number:                XXX-XX-XXXX

Height:          5'10"                                                    Weight:               N/A

Sex:      Male                                                            Race:         White

Hair:     Blonde                                                          Eyes:         Blue

Scars, tattoos, other distinguishing marks:            N/A




History of violence, weapons, drug use:                  N/A



Known family, friends, and other associates (name, relation, address, phone number):       N/A


                          N/A
FBI number:
                                                 N/A
Complete description of auto:


Investigative agency and address:               Federal Bureau of Investigation, Washington Field Office; 610 4th St NW Washington,
                                                D.C. 20535

Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):
N/A



Date of last contact with pretrial services or probation officer (if applicable):       N/A
